                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


                             DOCKET NO. 3:11-cr-00190-MOC-DSC


UNITED STATES OF AMERICA,                     )
                                              )
                   Petitioner,                )
                                              )
                                              )                     CASTRO
Vs.                                           )                     ORDER
                                              )
KIMBERLY BRIDGES MORRIS,                      )
                                              )
                  Respondent.                 )



          THIS MATTER is before the court on defendant’s pro se letter dated June 18,

2013, which the court interprets to be a potential post-judgment Motion to Vacate, Alter

or Amend Judgment.         In substance, petitioner asks the court to alter the active term of

her imprisonment to a term of home confinement. Petitioner is advised from the outset

that the court knows of no procedure which would allow it to alter the judgment in this

matter, which has now become final, for any of the reasons discussed in defendant’s

letter.

          Petitioner is advised that Rule 35(b), Federal Rules of Criminal Procedure, allows

the government to file a motion to reduce a prisoner’s sentence after sentencing if the

prisoner provides “substantial assistance” to a government investigation. Fed.R.Crim.P.




      Case 3:11-cr-00190-MOC-DSC         Document 167       Filed 07/03/13    Page 1 of 4
35(b).1 Only the government may bring a motion for a sentence reduction under Rule

35(b). United States v. Blackwell, 81 F.3d 945, 948 (10th Cir.1996). Once a prisoner’s

sentence has been finalized, courts have held that the proper vehicle for complaining

about the government’s alleged failure to file a motion under Rule 35(b) is a motion to

vacate, set aside, or correct a sentence under 28 U.S.C. § 2255. United States v. Pierce,

120 F.3d 263, 1997 WL 471057, at *2 (4th Cir.1997) (per curiam) (unpublished table

decision)(a prisoner’s argument for a sentence reduction based on substantial assistance

should have been construed as a section 2255 motion); c.f. United States v. Dais, 308 F.

App’x 677, 677–78 (4th Cir.2009) (per curiam) (unpublished) (analyzing prisoner’s

argument that the government breached its plea agreement by failing to bring a motion

under Rule 35(b) without addressing section 2255 or Pierce ).

       Although not filed on Section 2255 forms and not signed under penalty of perjury,

a broad reading of defendant’s letter reveals that it presents a collateral attack on her

underlying sentence, potently making such letter a Section 2255 motion rather than a

Rule 35(b) motion. Before construing such letter as a Section 2255 Motion to Vacate,

Set Aside, or Correct a Sentence, the court will first advise defendant of the consequences

of construing such letter as a motion and then advise defendant on the method for making

her election, all in the form of the following Notice.

                                                 NOTICE

       In accordance with Castro v. United States, 540 U.S. 375 (2003), defendant is

advised that the court intends to recharacterize this motion as an attempt to file a motion

1
       There is no basis for a sentencing modification under 18 U.S.C. § 3582(c).



    Case 3:11-cr-00190-MOC-DSC                  Document 167           Filed 07/03/13   Page 2 of 4
pursuant to 28 U.S.C. § 2255. Defendant is provided an opportunity to advise the court

whether defendant agrees or disagrees with this recharacterization of the motion.

       Before making this decision, the defendant should consider that if the court

construes this motion as one brought pursuant to § 2255, it will be defendant’s first §

2255 petition, which will mean that before defendant can thereafter file a second or

successive § 2255 petition, the defendant must apply for and receive certification from

the United States Court of Appeals for the Fourth Circuit.

       In making such determination, defendant should consider that the law imposes a

one year statute of limitations on the right to bring a motion pursuant to §2255. This one

year period begins to run at the latest of:

       1.     the date on which the judgment of conviction became final;

       2.     the date on which the impediment to making a motion created by

              governmental action in violation of the Constitution or laws of the United

              States is removed, if movant was prevented from making a motion by such

              governmental action;

       3.     the date on which the right asserted was initially recognized by the

              Supreme Court, if that right has been newly recognized by the Supreme

              Court and made retroactively applicable to cases on collateral review; or

       4.     the date on which the facts supporting the claim or claims presented could

              have been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f). Finally, defendant is advised to discuss this matter with legal

counsel. Defendant is required to respond within 30 days of service of this Order in one



   Case 3:11-cr-00190-MOC-DSC            Document 167    Filed 07/03/13     Page 3 of 4
of two ways:

       (1)     if the defendant timely responds to this Order and does not agree to have
               the motion recharacterized as one under § 2255, the court will rule on the
               merits of the motion as one brought pursuant to Rule 35(b) in the criminal
               action; or


       (2)     if the defendant fails to respond to this Order or agrees to have the motion
               recharacterized as one pursuant to § 2255, the court will consider the
               motion pursuant to § 2255 and shall consider it filed as of the date the
               original motion was filed. If the Defendant agrees to have the motion
               considered as one pursuant to §2255, the court will provide a time within
               which an amendment to the motion to the extent permitted by law may be
               filed, which includes, but is not limited to, signing an Amended Motion to
               Vacate under penalty of perjury.


                                         ORDER

       IT IS, THEREFORE, ORDERED that the defendant/petitioner may comply

with the provisions of this Order by written filing on or before thirty (30) days from

service of this Order.



        Signed: July 2, 2013




   Case 3:11-cr-00190-MOC-DSC          Document 167       Filed 07/03/13   Page 4 of 4
